Case 3:24-cv-00974-AN   Document 68-7   Filed 05/12/25   Page 1 of 11




              EXHIBIT 7
                       Case 3:24-cv-00974-AN                       Document 68-7                 Filed 05/12/25              Page 2 of 11


                                                   UNITED STATES
                                       SECURITIES AND EXCHANGE COMMISSION
                                                                    Washington, D.C. 20549
                                                                          FORM 8-K
                                                           CURRENT REPORT
                                   Pursuant to Section 13 OR 15(d) of The Securities Exchange Act of 1934

                                                                      June 24, 2021
                                                      Date of Report (date of earliest event reported)




                                                                         NIKE, Inc.
                                                 (Exact name of registrant as specified in its charter)
                            Oregon                                              1-10635                                          XX-XXXXXXX
         (State or other jurisdiction of incorporation)               (Commission File Number)                        (I.R.S. Employer Identification No.)


                                                                     ONE BOWERMAN DRIVE
                                                                   BEAVERTON, OR 97005-6453
                                                          (Address of principal executive offices and zip code)

                                                                            (503) 671-6453
                                                          Registrant's telephone number, including area code

                                                                         NO CHANGE
                                                    (Former name or former address, if changed since last report.)

Check the appropriate box below if the Form 8-K filing is intended to simultaneously satisfy the filing obligation of the registrant under any of the following
provisions:

☐    Written communications pursuant to Rule 425 under the Securities Act (17 CFR 230.425)

☐    Soliciting material pursuant to Rule 14a-12 under the Exchange Act (17 CFR 240.14a-12)

☐    Pre-commencement communications pursuant to Rule 14d-2(b) under the Exchange Act (17 CFR 240.14d-2(b))

☐    Pre-commencement communications pursuant to Rule 13e-4(c) under the Exchange Act (17 CFR 240.13e-4(c))

Securities registered pursuant to Section 12(b) of the Act:
                   Class B Common Stock                                         NKE                                     New York Stock Exchange
                     (Title of each class)                                (Trading Symbol)                        (Name of each exchange on which registered)


Indicate by check mark whether the registrant is an emerging growth company as defined in Rule 405 of the Securities Act of 1933 (§230.405 of this chapter) or
Rule 12b-2 of the Securities Exchange Act of 1934 (§240.12b-2 of this chapter).
                                                                                                                                   Emerging growth company ☐

If an emerging growth company, indicate by check mark if the registrant has elected not to use the extended transition period for complying with any new or
revised financial accounting standards provided pursuant to Section 13(a) of the Exchange Act.
                                                                                                                                                                  ☐




                                                                                                                                          Exhibit 7 - page 1
                         Case 3:24-cv-00974-AN                    Document 68-7                 Filed 05/12/25              Page 3 of 11


Item 2.02 Results of Operations and Financial Condition

Today NIKE, Inc. issued a press release disclosing financial results for the fiscal quarter and full year ended May 31, 2021. The text of the release is furnished
herewith as Exhibit 99.1.

Item 9.01 Financial Statements and Exhibits

         (d) Exhibits.

The following exhibit is furnished with this Form 8-K:


           Exhibit No.                                                                             Exhibit
              99.1                                                              NIKE, Inc. Press Release dated June 24, 2021
              104                                               Cover Page Interactive Data File (embedded within the Inline XBRL document)

                                                                           SIGNATURES

        Pursuant to the requirements of the Securities Exchange Act of 1934, the registrant has duly caused this report to be signed on its behalf by the
undersigned hereunto duly authorized.



                                                                             NIKE, Inc.
                                                                             (Registrant)

Date:     June 24, 2021                                                    By: /s/ Matthew Friend
                                                                               Matthew Friend
                                                                               Executive Vice President and Chief Financial Officer




                                                                                                                                         Exhibit 7 - page 2
                    Case 3:24-cv-00974-AN          Document 68-7          Filed 05/12/25       Page 4 of 11




Investor Contact:                                                                                                 Media Contact:
Andy Muir                                                                                                         KeJuan Wilkins
(971) 473-3143                                                                                                    (971) 473-2556

                           NIKE, INC. REPORTS FISCAL 2021 FOURTH QUARTER
                                        AND FULL YEAR RESULTS

BEAVERTON, Ore., June 24, 2021 — NIKE, Inc. (NYSE:NKE) today reported financial results for its fiscal 2021 fourth quarter
and full year ended May 31, 2021.

•   Fourth quarter reported revenues were $12.3 billion, up 96 percent compared to prior year and increasing 21 percent
    compared to the fourth quarter of 2019.
•   Full year reported revenues increased 19 percent to $44.5 billion.
•   NIKE Direct fourth quarter sales increased 73 percent to $4.5 billion.
•   Gross margin for the fourth quarter increased 850 basis points to 45.8 percent.
•   Diluted earnings per share for the fourth quarter was $0.93 and for the full year was $3.56.

“NIKE’s strong results this quarter and full fiscal year demonstrate NIKE’s unique competitive advantage and deep connection
with consumers all over the world,” said John Donahoe, President & CEO, NIKE, Inc. “FY21 was a pivotal year for NIKE as we
brought our Consumer Direct Acceleration strategy to life across the marketplace. Fueled by our momentum, we continue to
invest in innovation and our digital leadership to set the foundation for NIKE’s long-term growth.” *

Our fourth quarter revenue growth was led by higher wholesale shipments due to the annualization of COVID-19 related physical
retail closures in the prior year in North America, EMEA and APLA. As physical retail re-opened, NIKE Brand Digital continued to
deliver strong revenue growth of 41 percent versus prior year and 147 percent compared to the fourth quarter of 2019.

North America delivered record revenues, up 141 percent on a reported basis for the fourth quarter, up 29 percent compared to
the fourth quarter of 2019, including increased wholesale revenue due to delayed shipments from the previous quarter. As
markets re-opened and sport returned, North America Digital growth continued to be strong, increasing 54 percent versus prior
year and 177 percent compared to the fourth quarter of 2019.

EMEA’s fourth quarter reported revenues increased 124 percent, up 21 percent compared to the fourth quarter of 2019, despite
temporary COVID-19 related store closures throughout the quarter. As physical retail was temporarily closed, EMEA Digital
fourth quarter sales increased 40 percent, or 170 percent compared to the fourth quarter of 2019. Today, approximately 99
percent of stores in EMEA are open or operating on reduced hours.

Our full year NIKE, Inc. revenues increased 19 percent on a reported basis or 14 percent compared to fiscal year 2019,
reflecting growth across all Geographies and Converse, including seven consecutive years of double-digit, currency-neutral**
growth for our Greater China business.

“NIKE’s brand momentum is a testament to our authentic consumer connections, digital strength and continued operational
execution,” said Matt Friend, Executive Vice President and Chief Financial Officer, NIKE, Inc. “As we advance our consumer-led
digital transformation, we are
building a new financial model that will continue to fuel long-term sustainable, profitable growth for NIKE.” *

Fourth Quarter Income Statement Review

•   Revenues for NIKE, Inc. rose 96 percent to $12.3 billion, up 88 percent on a currency-neutral basis, largely driven by the
    recovery of our business operations due to the impact of COVID-19 in the prior year.
    ◦ Revenues for the NIKE Brand were $11.8 billion, up 88 percent to prior year on a currency-neutral basis, driven by triple-
        digit growth in our wholesale business and strong double-digit growth in NIKE Direct.
    ◦ Revenues for Converse were $596 million, up 85 percent on a currency-neutral basis, led by strong marketplace demand
        in North America and Western Europe.
•   Gross margin increased 850 basis points to 45.8 percent, primarily due to annualizing the impacts of COVID-19 including
    lower factory cancellation charges, lower inventory obsolescence reserves as well as the favorable rate impact of supply
    chain fixed costs on a higher volume of wholesale shipments. The increase in gross margin also reflects favorable margins in
    our NIKE Direct business.
                                                                                                         Exhibit 7 - page 3
    our NIKE Direct Case  3:24-cv-00974-AN
                     business.                       Document 68-7          Filed 05/12/25        Page 5 of 11
•   Selling and administrative expense increased 17 percent to $3.7 billion.
    ◦ Demand creation expense was $997 million, up 21 percent, primarily due to the return of sport and brand events driving
        increased advertising and marketing expense as well as digital marketing investments.
    ◦ Operating overhead expense increased 16 percent to $2.7 billion, due to an increase in wage-related expenses, higher
        strategic technology investments and NIKE Direct variable costs, partially offset by lower bad debt expense.
•   The effective tax rate was 18.6 percent compared to 1.7 percent for the same period last year, caused by a change in the
    proportion of earnings taxed in the U.S. related to recovery from the impact of COVID-19 and decreased benefits from
    discrete items.
•   Net income was $1.5 billion, and Diluted earnings per share was $0.93 compared to a net loss for the fourth quarter of
    2020 of $790 million and a net loss per share of $0.51.

Fiscal 2021 Income Statement Review

•   Revenues for NIKE, Inc. increased 19 percent to $44.5 billion, up 17 percent on a currency-neutral basis.
    ◦ Revenues for the NIKE Brand were $42.3 billion, up 17 percent on a currency-neutral basis, driven by growth across
        NIKE Direct and wholesale, double-digit growth across footwear and apparel, with growth led by Sportswear and the
        Jordan Brand.
    ◦ NIKE Direct revenues were $16.4 billion, up 32 percent, or 30 percent on a currency-neutral basis, led by 64 percent, or
        60 percent on a currency-neutral basis, growth in NIKE Brand Digital, with all geographies growing strong double-digits.
        Despite temporary store closures across the marketplace due to COVID-19, comparable store sales grew 4 percent.
    ◦ Revenues for Converse were $2.2 billion, up 16 percent on a currency-neutral basis, led by strong double-digit sales
        growth in our digital business.
•   Gross margin increased 140 basis points to 44.8 percent, primarily due to annualizing the impacts of COVID-19 including
    lower factory cancellation charges, lower inventory obsolescence reserves as well as the favorable rate impact of supply
    chain fixed costs on a higher volume of wholesale shipments. The increase in gross margin also reflects higher full-price
    product margins across wholesale and NIKE Direct.
•   Selling and administrative expense decreased 1 percent to $13.0 billion.
    ◦ Demand creation expense was $3.1 billion, down 13 percent to prior year, primarily due to lower marketing and
        advertising expenses for our brand events and retail operations, as
        well as lower sports marketing expenses as sporting events were postponed due to COVID-19. This activity was partially
        offset by higher digital marketing investments.
    ◦ Operating overhead expense increased 4 percent to $9.9 billion due to an increase in strategic technology investments,
        higher NIKE Direct variable costs and approximately $260 million in restructuring-related costs, partially offset by lower
        bad debt expense and lower travel and related expenses.
•   The effective tax rate was 14 percent, compared to 12.1 percent for the same period last year, due to decreased benefits
    from discrete items such as stock-based compensation.
•   Net income was $5.7 billion, and Diluted earnings per share was $3.56, up 123 percent.

May 31, 2021 Balance Sheet Review

•   Inventories for NIKE, Inc. were $6.9 billion, down 7 percent compared to the prior year period, driven by strong consumer
    demand as we return to healthy inventory levels across markets closed in the prior year due to COVID-19.
•   Cash and equivalents and short-term investments were $13.5 billion, $4.7 billion higher than last year, primarily due to
    proceeds from net income partially offset by cash dividends.

Shareholder Returns

NIKE has a strong track record of investing to fuel growth and consistently increasing returns to shareholders through dividends
and share repurchases, including 19 consecutive years of increasing dividend payouts. In fiscal 2021, the Company returned
approximately $2.3 billion to shareholders, including:
• Dividends of $1.6 billion, compared with $1.5 billion in fiscal 2020.
• Share repurchases totaling approximately $650 million for fiscal 2021, reflecting 4.9 million shares retired as part of the
   four-year, $15 billion program approved by the Board of Directors in June 2018.

During the fourth quarter of 2021, NIKE, Inc. resumed share repurchase activity. As of May 31, 2021, a total of 50 million shares
for $4.7 billion had been repurchased under this program.

Conference Call

NIKE, Inc. management will host a conference call beginning at approximately 2:00 p.m. PT on June 24, 2021, to review fiscal
fourth quarter and full year results. The conference call will be broadcast live via the Internet and can be accessed at
http://investors.nike.com. For those unable to listen to the live broadcast, an archived version will be available at the same
location through 9:00 p.m. PT, July 15, 2021.

About NIKE, Inc.
                                                                                                           Exhibit 7 - page 4
                       Case 3:24-cv-00974-AN                       Document 68-7                 Filed 05/12/25               Page 6 of 11
NIKE, Inc., based near Beaverton, Oregon, is the world’s leading designer, marketer and distributor of authentic athletic
footwear, apparel, equipment and accessories for a wide variety of sports and fitness activities. Converse, a wholly-owned NIKE,
Inc. subsidiary brand, designs, markets and distributes athletic lifestyle footwear, apparel and accessories. For more information,
NIKE, Inc.’s earnings releases and other financial information are available on the Internet at http://investors.nike.com.
Individuals can also visit http://news.nike.com and follow @NIKE.

*    The marked paragraphs contain forward-looking statements that involve risks and uncertainties that could cause actual results to differ materially. These risks and
     uncertainties are detailed from time to time in reports filed by NIKE with the U.S. Securities and Exchange Commission (SEC), including Forms 8-K, 10-Q and 10-K.
**   See additional information in the accompanying Divisional Revenues table or the Supplemental NIKE Brand Revenue table regarding this non-GAAP financial measure.


                                                                          (Tables Follow)




                                                                                                                                           Exhibit 7 - page 5
                       Case 3:24-cv-00974-AN            Document 68-7             Filed 05/12/25            Page 7 of 11




                                                              NIKE, Inc.
                                              CONSOLIDATED STATEMENTS OF INCOME
                                                                (Unaudited)

                                                         THREE MONTHS ENDED               %             TWELVE MONTHS ENDED               %
(In millions, except per share data)                    5/31/2021    5/31/2020          Change          5/31/2021    5/31/2020          Change
Revenues                                            $       12,344 $      6,313             96 % $          44,538 $     37,403             19 %
Cost of sales                                                6,689        3,960             69 %            24,576       21,162             16 %
Gross profit                                                 5,655        2,353            140 %            19,962       16,241             23 %
  Gross margin                                                45.8 %       37.3 %                             44.8 %       43.4 %

Demand creation expense                                       997               823         21 %            3,114             3,592        -13 %
Operating overhead expense                                  2,745             2,368         16 %            9,911             9,534          4 %
Total selling and administrative expense                    3,742             3,191         17 %           13,025            13,126         -1 %
 % of revenues                                               30.3 %            50.5 %                        29.2 %            35.1 %

Interest expense (income), net                                 63                50          —                262                89        —
Other (income) expense, net                                    (4)             (84)          —                 14               139        —
Income (loss) before income taxes                           1,854             (804)         331 %           6,661             2,887       131 %
Income tax expense (benefit)                                  345              (14)       2,564 %             934               348       168 %
  Effective tax rate                                         18.6 %             1.7 %                        14.0 %            12.1 %

NET INCOME (LOSS)                                   $       1,509     $       (790)        291 % $          5,727     $       2,539       126 %

Earnings (loss) per common share:
 Basic                                              $        0.96     $       (0.51)       288 % $           3.64     $        1.63       123 %
 Diluted                                            $        0.93     $       (0.51)       282 % $           3.56     $        1.60       123 %

Weighted average common shares outstanding:
 Basic                                                    1,579.0         1,555.7                         1,573.0            1,558.8
 Diluted                                                  1,614.9         1,555.7                         1,609.4            1,591.6

Dividends declared per common share                 $       0.275     $       0.245                 $       1.070     $       0.955




                                                                                                                          Exhibit 7 - page 6
                   Case 3:24-cv-00974-AN           Document 68-7      Filed 05/12/25        Page 8 of 11




                                                       NIKE, Inc.
                                              CONSOLIDATED BALANCE SHEETS
                                                        (Unaudited)

                                                                                  May 31,         May 31,
(Dollars in millions)                                                              2021            2020        % Change
ASSETS
Current assets:
  Cash and equivalents                                                        $         9,889 $        8,348         18 %
  Short-term investments                                                                3,587            439        717 %
  Accounts receivable, net                                                              4,463          2,749         62 %
  Inventories                                                                           6,854          7,367         -7 %
  Prepaid expenses and other current assets                                             1,498          1,653         -9 %
Total current assets                                                                   26,291         20,556         28 %
  Property, plant and equipment, net                                                    4,904          4,866          1 %
  Operating lease right-of-use assets, net                                              3,113          3,097          1 %
  Identifiable intangible assets, net                                                     269            274         -2 %
  Goodwill                                                                                242            223          9 %
  Deferred income taxes and other assets                                                2,921          2,326         26 %
TOTAL ASSETS                                                                  $        37,740 $       31,342         20 %
LIABILITIES AND SHAREHOLDERS’ EQUITY
Current liabilities:
  Current portion of long-term debt                                           $            — $             3       -100 %
  Notes payable                                                                             2            248        -99 %
  Accounts payable                                                                      2,836          2,248         26 %
  Current portion of operating lease liabilities                                          467            445          5 %
  Accrued liabilities                                                                   6,063          5,184         17 %
  Income taxes payable                                                                    306            156         96 %
Total current liabilities                                                               9,674          8,284         17 %
  Long-term debt                                                                        9,413          9,406          0 %
  Operating lease liabilities                                                           2,931          2,913          1 %
  Deferred income taxes and other liabilities                                           2,955          2,684         10 %
  Redeemable preferred stock                                                               —              —          —
  Shareholders’ equity                                                                 12,767          8,055         58 %
TOTAL LIABILITIES AND SHAREHOLDERS’ EQUITY                                    $        37,740 $       31,342         20 %




                                                                                                    Exhibit 7 - page 7
                      Case 3:24-cv-00974-AN                     Document 68-7              Filed 05/12/25             Page 9 of 11




                                                                       NIKE, Inc.
                                                               DIVISIONAL REVENUES
                                                                         (Unaudited)


                                                                                   % Change           TWELVE MONTHS                             % Change
                                                                                   Excluding                                                    Excluding
                                      THREE MONTHS ENDED                %                                 ENDED                     %
                                                                                   Currency                                                     Currency
(Dollars in millions)                     5/31/2021     5/31/2020    Change        Changes1          5/31/2021     5/31/2020     Change         Changes1
North America
  Footwear                            $       3,793 $       1,606       136 %             136   %$      11,644 $       9,329          25   %           25    %
  Apparel                                     1,448           563       157 %             156   %        5,028         4,639           8   %            8    %
  Equipment                                     143            61       134 %             132   %          507           516          -2   %           -2    %
      Total                                   5,384         2,230       141 %             141   %       17,179        14,484          19   %           19    %
Europe, Middle East & Africa
  Footwear                                    1,831           887       106 %              90   %        6,970         5,892          18   %           13    %
  Apparel                                     1,023           398       157 %             137   %        3,996         3,053          31   %           25    %
  Equipment                                     125            43       191 %             172   %          490           402          22   %           19    %
      Total                                   2,979         1,328       124 %             107   %       11,456         9,347          23   %           17    %
Greater China
  Footwear                                    1,316         1,149         15 %              6   %        5,748         4,635          24   %           19    %
  Apparel                                       572           468         22 %             13   %        2,347         1,896          24   %           19    %
  Equipment                                      45            30         50 %             34   %          195           148          32   %           26    %
      Total                                   1,933         1,647         17 %              9   %        8,290         6,679          24   %           19    %
Asia Pacific & Latin America
  Footwear                                    1,007           559         80 %             75   %        3,659         3,449           6   %             8   %
  Apparel                                       396           211         88 %             80   %        1,494         1,365           9   %            10   %
  Equipment                                      55            31         77 %             74   %          190           214         -11   %            -9   %
      Total                                   1,458           801         82 %             76   %        5,343         5,028           6   %             8   %
Global Brand Divisions2                           7             6         17 %             24   %           25            30         -17   %           -17   %
TOTAL NIKE BRAND                             11,761         6,012         96 %             88   %       42,293        35,568          19   %            17   %
Converse                                        596           305         95 %             85   %        2,205         1,846          19   %            16   %
Corporate3                                      (13)           (4)        —                —                40           (11)         —                 —
TOTAL NIKE, INC. REVENUES             $      12,344 $       6,313         96 %             88   %$      44,538 $      37,403          19   %            17   %

TOTAL NIKE BRAND
    Footwear                              $      7,947 $      4,201          89 %              83 % $      28,021 $      23,305           20 %             18 %
    Apparel                                      3,439        1,640         110 %            101 %         12,865        10,953           17 %             15 %
    Equipment                                      368          165         123 %            113 %          1,382         1,280            8 %              7 %
    Global Brand Divisions2                          7             6         17 %              24 %            25             30        -17 %             -17 %
TOTAL NIKE BRAND REVENUES $                     11,761 $      6,012          96 %              88 % $      42,293 $      35,568           19 %             17 %
1
  The percent change has been calculated using actual exchange rates in use during the comparative prior year period and is provided to enhance the visibility
of the underlying business trends by excluding the impact of translation arising from foreign currency exchange rate fluctuations, which is considered a non-
GAAP financial measure. Management uses this non-GAAP financial measure when evaluating the Company's performance, including when making financial
and operating decisions. Additionally, management believes this non-GAAP financial measure provides investors with additional financial information that
should be considered when assessing the Company’s underlying business performance and trends. References to this measure should not be considered in
isolation or as a substitute for other financial measures calculated and presented in accordance with U.S. GAAP and may not be comparable to similarly titled
non-GAAP measures used by other companies.
2
  Global Brand Divisions revenues include NIKE Brand licensing and other miscellaneous revenues that are not part of a geographic operating segment.
3
  Corporate revenues primarily consist of foreign currency hedge gains and losses related to revenues generated by entities within the NIKE Brand geographic
operating segments and Converse, but managed through the Company’s central foreign exchange risk management program.




                                                                                                                                  Exhibit 7 - page 8
                     Case 3:24-cv-00974-AN                    Document 68-7               Filed 05/12/25             Page 10 of 11




                                                                       NIKE, Inc.
                                           SUPPLEMENTAL NIKE BRAND REVENUE DETAILS
                                                                         (Unaudited)
                                                                                                                                               % Change
                                                                                        TWELVE MONTHS ENDED                    %               Excluding
                                                                                                                                               Currency
(Dollars in millions)                                                                   5/31/2021   5/31/2020                Change            Changes1
NIKE Brand Revenues by:
  Sales to Wholesale Customers                                                      $         25,898 $          23,156              12   %              10   %
  Sales through NIKE Direct                                                                   16,370            12,382              32   %              30   %
  Global Brand Divisions2                                                                         25                30             -17   %             -17   %
TOTAL NIKE BRAND REVENUES                                                           $         42,293 $          35,568              19   %              17   %

NIKE Brand Revenues on a Wholesale Equivalent Basis:3
  Sales to Wholesale Customers                                                      $         25,898 $          23,156              12 %               10    %
  Sales from our Wholesale Operations to NIKE Direct Operations                                9,872             7,452              32 %               30    %
TOTAL NIKE BRAND WHOLESALE EQUIVALENT REVENUES                                      $         35,770 $          30,608              17 %               15    %

NIKE Brand Wholesale Equivalent Revenues by:3
  Men’s                                                                             $         18,883 $          16,694              13   %             11    %
  Women’s                                                                                      8,555             6,999              22   %             20    %
  NIKE Kids’                                                                                   5,884             5,033              17   %             15    %
  Others4                                                                                      2,448             1,882              30   %             26    %
TOTAL NIKE BRAND WHOLESALE EQUIVALENT REVENUES                                      $         35,770 $          30,608              17   %             15    %

NIKE Brand Wholesale Equivalent Revenues by:3
   Running                                                                              $          3,987 $          3,830                4 %                3 %
   NIKE Basketball                                                                                 1,692            1,508              12 %                10 %
   Jordan Brand                                                                                    4,711            3,609              31 %                28 %
   Football (Soccer)                                                                               1,682            1,575                7 %                4 %
   Training                                                                                        2,907            2,688                8 %                7 %
   Sportswear                                                                                     15,053          12,285               23 %                20 %
   Others5                                                                                         5,738            5,113              12 %                11 %
TOTAL NIKE BRAND WHOLESALE EQUIVALENT REVENUES                                          $         35,770 $        30,608               17 %                15 %
1 The percent change has been calculated using actual exchange rates in use during the comparative prior year period and is provided to enhance the visibility

of the underlying business trends by excluding the impact of translation arising from foreign currency exchange rate fluctuations, which is considered a non-
GAAP financial measure. Management uses this non-GAAP financial measure when evaluating the Company's performance, including when making financial
and operating decisions. Additionally, management believes this non-GAAP financial measure provides investors with additional financial information that
should be considered when assessing the Company’s underlying business performance and trends. References to this measure should not be considered in
isolation or as a substitute for other financial measures calculated and presented in accordance with U.S. GAAP and may not be comparable to similarly titled
non-GAAP measures used by other companies.
2 Global Brand Divisions revenues include NIKE Brand licensing and other miscellaneous revenues that are not part of a geographic operating segment.
3 References to NIKE Brand wholesale equivalent revenues, which are considered non-GAAP financial measures, are intended to provide context as to the total

size of the Company’s NIKE Brand market footprint if it had no NIKE Direct operations. NIKE Brand wholesale equivalent revenues consist of 1) sales to
external wholesale customers and 2) internal sales from the Company’s wholesale operations to its NIKE Direct operations which are charged at prices that are
comparable to prices charged to external wholesale customers.
4
  Others include all unisex products, equipment and other products not allocated to Men’s, Women’s and NIKE Kids’, as well as certain adjustments that are not
allocated to products designated by gender or age.
5
  Others include all other categories and certain adjustments that are not allocated at the category level.




                                                                                                                                  Exhibit 7 - page 9
                     Case 3:24-cv-00974-AN                   Document 68-7                Filed 05/12/25            Page 11 of 11



                                                                      NIKE, Inc.
                                               EARNINGS BEFORE INTEREST AND TAXES1
                                                                         (Unaudited)

                                                         THREE MONTHS ENDED                     %             TWELVE MONTHS ENDED                    %
(Dollars in millions)                                    5/31/2021        5/31/2020          Change           5/31/2021         5/31/2020         Change
North America                                         $       1,794 $            (13)            13,900 % $        5,089 $           2,899               76 %
Europe, Middle East & Africa                                    550             (153)               459 %          2,435             1,541               58 %
Greater China                                                   691              571                 21 %          3,243             2,490               30 %
Asia Pacific & Latin America                                    418               79                429 %          1,530             1,184               29 %
Global Brand Divisions2                                      (1,110)            (844)               -32 %         (3,656)           (3,468)               -5 %
TOTAL NIKE BRAND1                                             2,343             (360)               751 %          8,641             4,646               86 %
Converse                                                        138              (27)               611 %            543               297               83 %
Corporate3                                                     (564)            (367)               -54 %         (2,261)           (1,967)             -15 %
TOTAL NIKE, INC. EARNINGS (LOSS) BEFORE
INTEREST AND TAXES1                                           1,917             (754)               354 %          6,923             2,976              133 %
  % of revenues                                                15.5 %          (11.9) %                             15.5 %              8.0 %
Interest expense (income), net                                   63               50                 —               262                 89               —
TOTAL NIKE, INC. INCOME (LOSS) BEFORE
INCOME TAXES                                          $       1,854 $           (804)               331 % $        6,661 $           2,887              131 %
1 The Company evaluates the performance of individual operating segments based on earnings before interest and taxes (commonly referred to as “EBIT”),

which represents net income before interest expense (income), net and income tax expense. Total NIKE Brand EBIT and Total NIKE, Inc. EBIT are considered
non-GAAP financial measures and are being provided as management believes this additional information should be considered when assessing the
Company’s underlying business performance and trends. References to EBIT should not be considered in isolation or as a substitute for other financial
measures calculated and presented in accordance with U.S. GAAP and may not be comparable to similarly titled non-GAAP measures used by other
companies.
2 Global Brand Divisions primarily represent demand creation and operating overhead expense, including product creation and design expenses that are

centrally managed for the NIKE Brand, as well as costs associated with NIKE Direct global digital operations and enterprise technology. Global Brand Divisions
revenues include NIKE Brand licensing and other miscellaneous revenues that are not part of a geographic operating segment.
3 Corporate consists primarily of unallocated general and administrative expenses, including expenses associated with centrally managed departments;

depreciation and amortization related to the Company’s corporate headquarters; unallocated insurance, benefit and compensation programs, including stock-
based compensation; and certain foreign currency gains and losses, including certain hedge gains and losses. For the three and twelve months ended May 31,
2021, Corporate included non-recurring employee termination and related costs associated with the previously announced leadership and operating model
changes.




                                                                                                                                Exhibit 7 - page 10
